 1   JAMES R. GREINER, ESQ.
     CALIFORNIA STATE BAR NUMBER 123357
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 5   ATTORNEY FOR DEFENDANT
     CHARLEY STEPHENSON
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 7
 8                 IN THE UNITED STATES DISTRICT COURT FOR THE
 9                         EASTERN DISTRICT OF CALIFORNIA
10
     UNITED STATES OF AMERICA,           )                CR.-S-04-0406–FCD
11                                       )
           PLAINTIFF,                    )                STIPULATION AND ORDER
12                                       )                TO CONTINUE JUDGMENT AND
           v.                            )                SENTENCE TO MONDAY
13                                       )                MARCH 5, 2007
     CHARLEY STEPHENSON, et al.,         )
14                                       )
                                         )
15                                       )
           DEFENDANTS                    )
16   ____________________________________)
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            Plaintiff United States of America, by its counsel, Assistant United States Attorney, Mr. Ken
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     Melikian, and defendant CHARLEY STEPHENSON, by his counsel Mr. James R. Greiner, hereby
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     agree and stipulate that the judgment and sentencing set for Monday, January 22, 2007, at
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     10:00 a.m., in Courtroom #1 before the Honorable District Court Judge FRANK C. DAMRELL, Jr.,
21
     can be continued to Monday, March 5, 2007, at 10:00 a.m., in Courtroom #1, before the Honorable
22
     District Court Judge FRANK C. DAMRELL, Jr.
23
            Counsel for the defense has cleared the date and time with the Court’s Courtroom Deputy.
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 1                               Respectfully submitted,
 2                               McGREGOR W. SCOTT
                                 UNITED STATES ATTORNEY
 3
 4                               /s/ Ken Melikian
                                 By in person authorization
 5
     DATED: 1-10-07              _____________________________________
 6                               KEN MILIKIAN
                                 ASSISTANT UNITED STATES ATTORNEY
 7                               ATTORNEY FOR THE PLAINTIFF
 8
                                 /s/ James R. Greiner
 9   DATED: 1-10-07              _____________________________________
                                 JAMES R. GREINER
10                               ATTORNEY FOR CHARLEY STEPHENSON
11
                                         ORDER
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13         IT IS SO ORDERED.
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     DATED: JANUARY 10, 2007.
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                                _______________________________________
18                              FRANK C. DAMRELL, JR.
                                UNITED STATES DISTRICT JUDGE
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